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                             UNITED STATES DISTRICT COURT

                          NORTHERN DISTRICT OF CALIFORNIA


 IN RE: ROUNDUP PRODUCTS                          MDL No. 2741
 LIABILITY LITIGATION
                                                  Case No. 16-md-02741-VC

                                                  PRETRIAL ORDER NO. 166:
 This document relates to:
                                                  MOTIONS FOR LEAVE TO APPEAR IN
 ALL ACTIONS                                      PRO HAC VICE

                                                  Dkt. Nos. 4588, 4592



       As previously ordered, “[a]ttorneys admitted to practice and in good standing in any

United States District Court are admitted pro hac vice in this MDL,” and the requirements of

Northern District of California Civil Local Rule 11-3 are waived. Pretrial Order 1, Dkt. No. 2.

The motions for leave to appear in pro hac vice, filed by John Enochs (Dkt. 4588) and Tim

Bowden (Dkt. 4592), are deemed moot.

       IT IS SO ORDERED.

Dated: July 19, 2019
                                             ______________________________________
                                             VINCE CHHABRIA
                                             United States District Judge
